Case 1:18-cr-00031-AB.] Document 1 Filed 02/16/18 Page 1 of 2

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA Criminal No.:
v. Violation: 18 U.S.C. § 1001(a)(2) (False
Statements)

ALEX VAN DER ZWAAN,
Case: 1;18-cr-00031

Defendam_ Assigned To : Judge Jackson, Amy Berman
Assign. Date : 2/16/2018

Description: |NFORMATION (A)

Case Related to: 17-cr-201 (ABJ)

 

INFORMATI()N

The Special Counsel informs the Court:

gFalse Statements)

On November 3, 2017, the defendant, ALEX VAN DER ZWAAN, did willfully and
knowingly make materially false, fictitious, and fraudulent statements and representations in a
matter within thejurisdiction of the executive branch of the Government of the United States, to
wit, the defendant falsely stated and represented to the Special Counsel’s Offlce, including
Special Agents of the Federal Bureau of Investigation, in Washington, D.C., in the course of
answering questions concerning his work as an attorney employed by a law firm engaged in
2012 by the Ukraine Ministry of Justice to prepare a report on the trial of Yulia Tymoshenko:

(i) his last communication with Richard W. Gates 111 was in mid-August 2016

(which consisted of an innocuous text message) and his last communication with
Person A was in 2014 (when VAN DER ZWAAN and Person A discussed Person
A’s family); and

(ii) he did not know why an email between him and Person A in September 2016 was

not produced to the Special Counsel’s Office,

when in fact, as he then and there well knew and believed:

Case 1:18-cr-00031-AB.] Document 1 Filed 02/16/18 Page 2 of 2

(i) v in or about September 2016, he spoke with both Gates and Person A regarding the
Report, and surreptitiously recorded the calls; and

(ii) he deleted and otherwise did not produce emails sought by the Special Counsel’s
Oftice and Law Firm A, including the email between Person A and him in
September 2016.

Title 18 United States Code Section 1001 a 2

 

ROBERT S. MUELLER, 111

S ecial Counsel
By; A‘Al"\/W'l/…/\,

'Ailldrew Weissmann

Greg D. Andres

Kyle Freeny

Brian M. Richardson
Senior/Assistant Special Counsel

